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                           UNITED STATES BANKRUPTCY COURT
                          FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Richmond Division

IN RE:

RICHARD CLAYTON SNEAD JR.                              Chapter 7
SHARON KAY SNEAD                                       Case No. 18-36433-KRH

             Debtors

NATIONSTAR MORTGAGE LLC D/B/A
MR. COOPER

             Movant

v.

RICHARD CLAYTON SNEAD JR.
60 CECELIA COURT
SURRY, VA 23883

SHARON KAY SNEAD
60 CECELIA COURT
SURRY, VA 23883
         (Debtors)

BRUCE E. ROBINSON
P.O. BOX 538
415 E. ATLANTIC STREET
SOUTH HILL, VA 23970-0538
          (Trustee)

             Respondents

                     MOTION FOR RELIEF FROM AUTOMATIC STAY

         Nationstar Mortgage LLC d/b/a Mr. Cooper (“Movant”) by undersigned counsel,

respectfully moves this Honorable Court to terminate the Automatic Stay as to the real property




Kathryn Smits, Esq., Bar # 77337
Namrata Loomba, Esq., Bar # 87222
Heather D. McGivern, Esq., Bar # 91767
Theseus D. Schulze, Esq., Bar # 93756
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located at 60 Cecelia Court, Surry, VA 23883 (“Property”), and, as grounds therefore, states as

follows:

       1.      This proceeding seeking relief under 11 U.S.C. § 362(d) is a contested matter

within the meaning of Fed. R. Bankr. P. 4001 and 9014, and this court has jurisdiction over this

matter pursuant to 28 U.S.C. § 157. This is a core proceeding pursuant to 28 U.S.C. §

157(b)(2)(G) and (b)(2)(O). Venue is proper pursuant to 28 U.S.C. § 1409(a).

       2.      On December 27, 2018, the above named Debtors, Richard Clayton Snead Jr. and

Sharon Kay Snead (“Debtors”), filed in this court a Petition under Chapter 7 of the United States

Bankruptcy Code. Bruce E. Robinson was appointed Chapter 7 Trustee.

       3.      On or about September 19, 2018, Richard C. Snead Jr. and Sharon K. Snead

executed and delivered to Atlantic Bay Mortgage Group LLC a Note in the amount of THREE

HUNDRED TWENTY-FIVE THOUSAND THREE HUNDRED NINETY-FIVE DOLLARS

AND NO CENTS ($325,395.00), plus interest at the fixed rate of 4.625% per annum to be paid

over thirty (30) years. A copy of the Note is attached as Exhibit A and incorporated herein.


       4.      To secure the repayment of the sums due under the Note, Richard C. Snead Jr.

and Sharon K. Snead executed and delivered to Atlantic Bay Mortgage Group LLC a Deed of

Trust dated September 19, 2018, encumbering the real property (“Property”) described as:




which has the address of 60 Cecelia Court, Surry, VA 23883. A copy of the Deed of Trust is

attached as Exhibit B and incorporated herein.
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         5.    The Note and Deed of Trust were later transferred to Movant and Movant is the

current holder of the Note and Deed of Trust. A copy of the Assignment is attached as Exhibit

C and incorporated herein.

         6.    As of January 31, 2019, the Debtors owe an unpaid principal balance of

$325,395.00 under the Note, plus additional accruing interest, late charges, attorneys’ fees and

costs.

         7.    As of January 31, 2019, the Debtors are contractually due for November 1, 2018,

which includes the following missed payments:

 Number of           From                     To            Payment Amount         Total Due
  Missed
 Payments
     3         November 1, 2018        January 1, 2019               $2,004.07      $6,012.21

                                                                     Suspense:         ($0.00)

                                                    Total Payments Past Due:        $6,012.21



         8.    The value of the property is $301,700.00, according to the Debtors’ Schedule "A".

         9.    The Debtors are in default under the Note.

         10.   The Debtors have not and cannot offer Nationstar Mortgage LLC d/b/a Mr.

Cooper adequate protection of its interest in the Property, and Nationstar Mortgage LLC d/b/a

Mr. Cooper avers it is not adequately protected.

         11.   Debtors’ Chapter 7 Statement of Intention lists an intent to surrender the Property.

         12.   As there is little to no equity in the Property, the Property is not necessary for an

effective reorganization. Therefore, relief from stay is appropriate under § 362(d)(2) of the

Bankruptcy Code to permit Movant to exercise its non-bankruptcy rights and remedies with

respect to the Mortgage.
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       13.     That the Debtors’ intention to surrender the Property to Movant, account

delinquency and lack of equity in the Property constitute cause for relief from the automatic stay.

       WHEREFORE, Nationstar Mortgage LLC d/b/a Mr. Cooper prays that this Court issue

an order terminating or modifying the Automatic Stay under 11 U.S.C. § 362, as to the property

located at 60 Cecelia Court, Surry, VA 23883, and granting the following:

       a.      Relief from the Automatic Stay allowing Movant to proceed under applicable

non-bankruptcy law to enforce its remedies to foreclose upon and obtain possession of the

Property and/or allowing Movant, through its agents, servicers and representatives to contact

Debtors and/or Debtors’ counsel for the purpose of engaging in discussions and consideration for

possible loss mitigation options, solutions and/or resolutions with regard to the underlying

mortgage and note, including, but not limited to loan modification, deed in lieu or other loss

mitigation alternatives.

       b.      That the Order be binding and effective despite any conversion of this bankruptcy

case to a case under any other chapter of Title 11 of the United States Code.

       c.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.

       d.      For such other relief as the Court deems proper.
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Date: _February 4, 2019__________

                                      Respectfully submitted,

                                        /s/ Theseus Schulze
                                      Kathryn Smits, Bar #77337
                                      Namrata Loomba, Bar #87222
                                      Heather D. McGivern, Bar #91767
                                      Theseus D. Schulze, Bar #93756
                                      Orlans PC
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                                      Attorneys for Nationstar Mortgage LLC d/b/a Mr.
                                      Cooper
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                                      nloomba@orlans.com
                                      hmcgivern@orlans.com
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                                   CERTIFICATE OF SERVICE

       The undersigned states that on February 4, 2019, copies of the foregoing Motion for
Relief from Automatic Stay were filed with the Clerk of the Court using the ECF system, which
will send notification of such filing to the following:

Bruce E. Robinson
P.O. Box 538
415 E. Atlantic Street
South Hill, VA 23970-0538
bruce.robinsontr@gmail.com
Bankruptcy Trustee

Seth Jackson Marks
Pagano & Marks, P.C.
4510 S. Laburnum Ave.
Richmond, VA 23231
smarksster@gmail.com
Debtors’ Attorney

and I hereby certify that I have caused to be mailed by first class mail, postage prepaid, copies of
the foregoing Motion for Relief from Automatic Stay to the following non-ECF participants:

Richard Clayton Snead Jr.
60 Cecelia Court
Surry, VA 23883
Debtor

Sharon Kay Snead
60 Cecelia Court
Surry, VA 23883
Debtor

                                                Theseus Schulze
                                               Kathryn Smits, Esquire
                                               Namrata Loomba, Esquire
                                               Heather D. McGivern, Esquire
                                               Theseus D. Schulze, Esquire
